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UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF COLUMBIA
SEP - 4 2019
) Clerk, U.S. District & Bankruptcy
UNITED STATES OF AMERICA, ) Courts for the District of Columbia
)
V. ) Crim. Action No. 19-0125 (ABJ)
)
GREGORY B. CRAIG, )
)
Defendant. )
)
VERDICT FORM

As to the charge that Gregory B. Craig did knowingly and willfully conceal and cover up
material facts in a matter within the jurisdiction of the FARA Unit by trick, scheme, or device,

we the members of jury unanimously find the defendant:

Guilty Not Guilty (~

SO SAY WE ALL, this 4tnday of Semutbbar, 2019.
